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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                             )
Ángel Alejandro Heredia Mons, Etowah County                  )
Detention Center, 827 Forrest Avenue, Gadsden, AL            )
35901;                                                       )
                                                             )
Roland Nchango Tumenta, Dayana Mena López,                   )
Y.A.L., J.M.R., P.S.P., and R.O.P., Pine Prairie ICE         )
Processing Center, 1133 Hampton Dupre Road, Pine             )    Civil Action No. ______
Prairie, LA 70576;                                           )
                                                             )
Adrián Toledo Flores and Douglas Enrique Puche
                                                             )
Moreno, Bossier Medium Security Facility, 2984 Old           )
Plain Dealing Road, Plain Dealing, LA 71064;                 ) Class Complaint for Injunctive
M.R.M.H., LaSalle ICE Processing Center, 830 Pine            ) and Declaratory Relief
Hill Road, Jena, LA 71342;                                   )
                                                             )
F.J.B.H., River Correctional Facility, 26362 LA-15,          )
Ferriday, LA 71334;                                          )
                                                             )
Miguel Ángel Giron Martinez, Jackson Parish                  )
Correctional Center, 327 Industrial Drive, Jonesboro,        )
LA 71251;                                                    )
                                                             )
on behalf of themselves and others similarly situated,
                                                             )
               Plaintiffs,                                   )
                                                             )
               v.                                            )
                                                             )
Kevin K. McALEENAN, Acting Secretary of the Dep’t            )
of Homeland Security, in his official capacity,              )
Washington, DC 20528; Matthew T. ALBENCE, Acting             )
Director for U.S. Immigration and Customs                    )
Enforcement, in his official capacity, 500 12th Street,      )
SW, Washington, DC 20536; Nathalie R. ASHER,                 )
Acting Executive Associate Director for ICE                  )
Enforcement and Removal Operations, in her official          )
capacity 500 12th Street, SW, Washington, DC 20536;          )
and George H. LUND III, Director of the ICE New              )
Orleans Field Office, in his official capacity, c/o Office   )
of the General Counsel Dep’t of Homeland Security,           )
Mail Stop 4650, Washington, DC 20528,                        )
               Defendants.                                   )
                                                             )
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       CLASS COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

                                        INTRODUCTION
       1.      This lawsuit is about hundreds of people who lawfully presented at official ports of

entry along the Southern U.S. border to claim their right to seek asylum, only to be confined

indefinitely in remote immigration jails across the Deep South. They have all demonstrated a

credible fear of persecution and are now in removal proceedings before the Executive Office for

Immigration Review (“EOIR”).

       2.      Current law denies them the right to petition immigration judges for their release

from custody. Instead, they must ask their jailer, the Department of Homeland Security (“DHS”),

to grant them release on parole for the duration of their asylum proceedings. Fewer than 10 years

ago, DHS released roughly 90 percent of such asylum seekers. Now, release rates have plummeted

to the single digits. In no jurisdiction is the release rate lower than in the New Orleans Field Office

of U.S. Immigration and Customs Enforcement (“ICE”), where, across the five states under its

jurisdiction—Alabama, Arkansas, Louisiana, Mississippi, and Tennessee—only two (2) of 130

release requests were granted last year.

       3.      A binding 2009 policy directs ICE to release such asylum seekers, provided they

establish their identity and show they are not a danger or flight risk. Despite that, in November

2018, high-ranking ICE officials disavowed the agency’s obligations under the policy in response

to a question from the American Immigration Lawyers Association about whether the policy

remained in effect in the jurisdiction of the New Orleans ICE Field office: “Technically no, by




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Executive Order. However, there is an injunction in certain field offices outside the New Orleans

AOR [Area of Responsibility].” 1

       4.      The statement by the New Orleans ICE Field Office confirmed that this jurisdiction,

like other ICE jurisdictions across the country, had effectively rescinded the 2009 policy.

       5.      The statement by the New Orleans ICE Field Office contradicts other public agency

documents and even the agency’s representations to courts. In a February 2017 memorandum

implementing an Executive Order, then-DHS Secretary John Kelly wrote that the 2009 policy

“shall remain in full force and effect.” 2 DHS has made the same representation before the U.S.

Supreme Court. 3 In the Damus v. Nielsen litigation pending before the U.S. District Court for the

District of Columbia, DHS has stated in oral argument that the 2009 policy is binding upon the

agency. 4

       6.      Across the five Southern states under the command of the New Orleans ICE Field

Office, hundreds of asylum seekers are incarcerated for months on end, enduring abuses in

confinement in exchange for the right to press their claims in court. ICE’s refusal to consider the

release of these asylum seekers on a case-by-case basis violates federal law, costs taxpayers




1
  Email from Brian Acuna, New Orleans ICE Assistant Field Office Director, New Orleans ICE
Field Office, to ICE Liaison, Brian Acuna to American Immigration Lawyers Association –
Midsouth Chapter (Nov. 29, 2018) (attached as Ex. A).
2
  See Memorandum from John Kelly, Implementing the President’s Border Security and
Immigration Enforcement Improvements Policies, at 10 (Feb. 20, 2017) [hereinafter Kelly Mem.],
available at:https://www.dhs.gov/sites/default/files/publications/17_0220_S1_Implementing-the-
Presidents-Border-Security-Immigration-Enforcement-Improvement-Policies.pdf.
3
  Supplemental Reply Brief for the Petitioners at 6 n.2, Jennings v. Rodriguez, 138 S. Ct. 830
(2018) (No. 15-1204), 2017 WL 727754.
4
  See Mem. Op., Damus v. Nielsen, 313 F.Supp.3d 317, 338 (D.D.C. July 2, 2018) (Boasberg, J.),
ECF No. 34 at 29 (citing government’s statement at oral argument that “the Directive is, in fact,
binding”).
                                                 3
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millions of dollars each month, and causes untold suffering to the men and women who seek legal

protection inside the United States.

       7.      Plaintiffs bring this class action to enjoin a DHS unwritten policy and practice of

categorically denying parole to asylum seekers with no individualized review of whether detention

is necessary, in violation of DHS’s own directive and guidelines.

                                 JURISDICTION AND VENUE

       8.      This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331 (federal

question); 28 U.S.C. § 1361 (mandamus); and 28 U.S.C. § 1651 (All Writs Act). Defendants have

waived sovereign immunity pursuant to 5 U.S.C. § 702.

       9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(e) because multiple

defendants reside in this District; a substantial part of the events or omissions giving rise to this

action occurred in this District; and this District is presiding over a related case involving similar

questions of law and fact. Damus v. Nielsen, 313 F.Supp.3d 317 (D.D.C. 2018).

                                             PARTIES

       10.     All Plaintiffs presented at official U.S. ports of entry, sought asylum, and

demonstrated a credible fear of persecution or torture. All Plaintiffs are pursuing their asylum

claims before EOIR. All Plaintiffs are confined under the jurisdiction of the New Orleans ICE

Field Office at one of the following immigration jails: the Pine Prairie ICE Processing Center in

Pine Prairie, Louisiana (“Pine Prairie”), the LaSalle ICE Processing Center in Jena, Louisiana

(“LaSalle”), the River Correctional Center in Ferriday, Louisiana (“River”), the Bossier Medium

Security Facility in Plain Dealing, Louisiana (“Bossier”), the Jackson Parish Correctional Center




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in Jonesboro, Louisiana (“Jackson”), and the Etowah County Jail in Gadsden, Alabama

(“Etowah”).

        11.     Plaintiffs appear in their individual capacity and as representatives of a proposed

class, as is further discussed infra.

        12.     Plaintiff Angel Alejandro Heredia Mons fled Cuba with his wife to escape

persecution for refusing to participate in political activities of the Communist Party. Both

presented at an official U.S. port of entry in Laredo, Texas, in July 2018, and expressed their fear

of returning to Cuba and their desire to seek asylum in the United States. DHS separated Mr.

Heredia Mons from his wife, confined him at the border, then transferred him to the custody of the

New Orleans ICE Field Office. Mr. Heredia Mons was placed in removal proceedings after his

wife’s positive credible fear finding was linked to his case. He is pursuing his asylum claim before

EOIR. He was denied parole despite submitting evidence of his identity, that he does not pose a

danger to the public, and that he does not pose a flight risk, because he has a U.S. citizen uncle

willing and able to sponsor him. He is currently detained at Etowah.

        13.     Plaintiff Roland Nchango Tumenta, a member of a Cameroonian opposition party

seeking the independence of Southern Cameroon, presented at an official U.S. port of entry in San

Ysidro, California, in September 2018. There, he expressed his fear of return and his desire to seek

asylum in the United States. DHS confined him at the border, then transferred him to the custody

of the New Orleans ICE Field Office. He passed a credible fear interview and is pursuing his

asylum claim before EOIR. He was denied parole, despite submitting evidence of his identity, that

he does not pose a danger to the public, and that he does not pose a flight risk, because he has a

permanent resident uncle willing and able to sponsor him. He is currently detained at Pine Prairie.

        14.     Plaintiff Dayana (legal name Dairo Mena López), a Cuban political dissident and

transgender woman, fled Cuba after police tortured her for her political beliefs and gender identity.
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In January 2019, she presented at an official U.S. port of entry in El Paso, Texas, expressed her

fear of returning to Cuba, and indicated her wish to seek asylum in the United States. DHS confined

her at the border, then transferred her to the custody of the New Orleans ICE Field Office. She

passed a credible fear interview and is pursuing her asylum claim before EOIR. She has been

denied access to the parole process, despite having evidence that she does not pose a danger to the

public and that she does not pose a flight risk, because a U.S. citizen is ready and willing to sponsor

her. She is currently detained at Pine Prairie.

       15.     Plaintiff M.R.M.H. fled Honduras because a Transnational Criminal Organization

tortured him, breaking his foot and jaw, and threatened him with death. In December 2018, he

presented at an official U.S. port of entry in San Ysidro, California. There, he expressed a fear of

returning to Honduras and his desire to seek asylum in the United States. DHS confined him at the

border, then transferred him to the custody of the New Orleans ICE Field Office. He passed a

credible fear interview and is pursuing his asylum claim before EOIR. He was denied parole five

times, despite submitting evidence of his identity, that he does not pose a danger to the public, and

that he does not pose a flight risk, because a U.S. citizen is willing and able to sponsor him. He is

currently detained at LaSalle.

       16.     Plaintiff P.S.P., a physician, fled Cuba because government agents were demanding

that he harm patients for political reasons. In October 2018, he presented at an official U.S. port

of entry in Laredo, Texas, expressed his fear of returning to Cuba, and indicated his desire to seek

asylum in the United States. DHS confined him at the border, then transferred him to the custody

of the New Orleans ICE Field Office. He passed a credible fear interview and is pursuing his

asylum claim before EOIR. He has been denied access to basic information about the parole

process, despite many requests from him and his U.S. citizen sister. He has evidence to establish

his identity, that he does not pose a danger to the public, and that he does not pose a flight risk,
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because his U.S. citizen sister is ready and willing to sponsor him. P.S.P. is currently detained at

Pine Prairie.

           17.   Plaintiff Y.A.L., a Cuban political dissident, presented at an official U.S. port of

entry in Brownsville, Texas, in October 2018. There, he expressed his fear of return to Cuba and

his desire to seek asylum in the United States. DHS confined him at the border, then transferred

him to the custody of the New Orleans ICE Field Office. He passed a credible fear interview and

is pursuing his asylum claim before EOIR. He was denied parole despite submitting evidence of

his identity, that he is not a danger to the public, and that he is not a flight risk, because his

permanent resident wife is ready and willing to sponsor him. He is currently detained at Pine

Prairie.

           18.   Plaintiff Miguel Ángel Girón Martínez is a student activist and a member of an

opposition political party in Honduras. He fled after suffering persecution for his political work.

In January 2019, he presented at an official U.S. port of entry in San Ysidro, California, and

expressed a fear of return to Honduras and a desire to seek asylum in the United States. DHS

confined him at the border, then transferred him to the custody of the New Orleans ICE Field

Office. He passed a credible fear interview and is pursuing his asylum claim before EOIR. He

has been denied access to the parole process, despite trying to submit evidence that he is neither a

danger to the public nor a flight risk, because a U.S. citizen is ready and willing to sponsor him.

He is currently detained at Jackson.

           19.   Plaintiff Douglas Enrique Puche Moreno, a Venezuelan political dissident,

presented at an official U.S. port of entry in Laredo, Texas, in September 2018. There, he

expressed a fear of returning to Venezuela and a desire to seek asylum in the United States. DHS

confined him at the border, then transferred him to the custody of the New Orleans ICE Field

Office. He passed a credible fear interview and is pursuing his asylum claim before EOIR. He
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was denied parole despite establishing his identity, that he is not a danger to the public, and that

he is not a flight risk, because a U.S. citizen is ready and willing to sponsor him. He is currently

detained at Bossier.

       20.     Plaintiff Adrián Toledo Flores, a Cuban political dissident, presented at an official

U.S. port of entry in Brownsville, Texas, in October 2018. There, he expressed a fear of returning

to Cuba and a desire to seek asylum in the United States. DHS confined him at the border, then

transferred him to the custody of the New Orleans ICE Field Office. He passed a credible fear

interview and is pursuing his asylum claim before EOIR. He was denied parole before having the

opportunity to submit evidence in support of his parole application. Since then, he has submitted

evidence of his identity, that he does not pose a danger to the public or a flight risk, because his

permanent resident family are ready and willing to sponsor him. However, ICE has failed to issue

a parole decision to him. He is currently detained at Bossier.

       21.     Plaintiff J.M.R., a conscientious objector who refused military service in Cuba,

presented at an official U.S. port of entry in Hidalgo, Texas, in July 2018. There, he expressed a

fear of return to Cuba and a desire to seek asylum in the United States. DHS confined him at the

border, then transferred him to the custody of the New Orleans ICE Field Office. He passed a

credible fear interview and is pursuing his asylum claim before EOIR. He was denied parole

despite submitting evidence of his identity, that he is not a danger to the public, and that he is not

a flight risk, because his U.S. citizen uncle is ready and willing to sponsor him. He is currently

detained at Pine Prairie.

       22.     Plaintiff R.O.P. a physician, fled Cuba after authorities demanded that he harm

patients for political reasons. He presented at an official U.S. port of entry in Laredo, Texas, in

July 2018. There, he expressed a fear of return to Cuba and a desire to seek asylum in the United

States. DHS confined him at the border, then transferred him to the custody of the New Orleans
                                                  8
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ICE Field Office. He passed a credible fear interview and is pursuing his asylum claim before

EOIR. He was denied parole despite submitting evidence that he is neither a danger to the public,

nor a flight risk, because his U.S. citizen fiancée is ready and willing to sponsor him. He is

currently detained at Pine Prairie.

         23.    Plaintiff F.J.B.H. fled Honduras with his girlfriend and her son due to persecution

by gang members affiliated with the ruling political party. They traveled with the migrant caravan

and presented at an official U.S. port of entry in San Ysidro, California, in December 2018. There,

F.J.B.H. and his girlfriend expressed a fear of return to Honduras and their desire to seek asylum

in the United States. DHS separated him from his family, confined him at the border, then

transferred him to the custody of the New Orleans ICE Field Office. He passed a credible fear

interview and is pursuing his asylum claim before EOIR. He was denied parole despite submitting

evidence of his identity, that he is not a danger to the public, and that he is not a flight risk, because

his U.S. citizen aunt and uncle are ready and willing to sponsor him. He is currently detained at

River.

         24.    Defendant Kevin K. McAleenan is sued in his official capacity as the Acting

Secretary of the Department of Homeland Security (“DHS”). In this capacity, he directs each of

the component agencies within DHS, including U.S. Immigration and Customs Enforcement

(“ICE”). Defendant McAleenan is responsible for the administration of immigration laws and

policies pursuant to 8 U.S.C. § 1103, including those laws and policies regarding the detention and

release on parole of arriving asylum seekers.

         25.    Defendant Matthew T. Albence is sued in his official capacity as Acting Director

of ICE, the sub-agency that operates the government’s immigration detention system. In this

capacity, Defendant Albence directs the administration of ICE’s detention policies and operations,



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including those policies and operations regarding the detention and release on parole of arriving

asylum seekers.

       26.     Defendant Nathalie R. Asher is sued in her official capacity as Acting Executive

Associate Director of ICE Enforcement and Removal Operations. In this capacity, Defendant

Asher is responsible for implementing the administration’s detention policies and operations,

including those policies and operations regarding the detention and release on parole of arriving

asylum seekers.

       27.     Defendant George H. Lund III is sued in his official capacity as Acting Director of

the New Orleans ICE Field Office. In this capacity, Defendant Lund is responsible for ICE

detention policies and operations—including those regarding the detention and release on parole

of arriving asylum seekers—in the area of responsibility of the New Orleans District, which

stretches across Alabama, Arkansas, Louisiana, Mississippi, and Tennessee.

                                  FACTUAL BACKGROUND
       A.      Legal Framework Governing Arriving Asylum Seekers’ Release from
               Custody.

       28.     Since the enactment of the Illegal Immigration Reform and Immigrant

Responsibility Act of 1996 (“IIRAIRA”), a person who arrives at an official U.S. port of entry

without proper entry documents, or who attempts to enter through fraud is normally subject to

expedited removal, a summary proceeding with no hearing and no opportunity for judicial review.

8 U.S.C. § 1225(b)(1)(A)(i).

       29.     However, in cases where the person expresses a fear of persecution in her or his

country of origin, or the intention to apply for asylum, an asylum officer must interview her or him

to determine whether there is a “significant possibility” that she or he is eligible for asylum—in



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other words, whether her or his fear is credible. Such interviews are called credible fear interviews

(“CFIs”). 8 U.S.C. §§ 1225(b)(1)(A)(ii), 1225(b)(1)(B)(v).

          30.   Once an asylum officer determines a person has a credible fear of persecution, the

expedited removal proceeding is terminated, and the person is placed in “full” removal

proceedings so an immigration judge can adjudicate her or his asylum claim. 8 U.S.C. §

1229a(a)(1).

          31.   For purposes of this complaint, persons who presented at ports of entry and were

found to have a credible fear are “Arriving Asylum Seekers.”

          32.   By statute, Arriving Asylum Seekers “shall be detained for further consideration of

the[ir] application for asylum.” 8 U.S.C. § 1225(b)(1)(B)(ii).         The statute “mandates” the

detention of Arriving Asylum Seekers “throughout the completion of applicable proceedings,”

including asylum hearings before immigration judges. Jennings v. Rodriguez, 138 S. Ct. 830, 845

(2018).

          33.   By law, Arriving Asylum Seekers are deprived of the right to petition an

immigration judge for their release from custody. 8 C.F.R. § 1003.19(h)(2)(i)(B).

          34.   Instead, the only administrative avenue for release for Arriving Asylum Seekers

throughout their immigration proceedings is to petition DHS, the very agency that made the

determination to confine them, for release on parole.

          35.   Congress established the parole process as a means for noncitizens seeking

admission to the United States, including Arriving Asylum Seekers, to obtain temporary release

from custody. As now codified, Congress has instructed the Attorney General to make parole

determinations “on a case-by-case basis for urgent humanitarian reasons or significant public

benefit” (hereinafter, “the Parole Statute”). 8 U.S.C. § 1182(d)(5)(A).



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       36.     The Attorney General delegated this authority to the Secretary of Homeland

Security, who in turn has delegated it to DHS’s three component agencies: Customs and Border

Protection (“CBP”), U.S. Citizenship and Immigration Services (“USCIS”), and Immigration and

Customs Enforcement (“ICE”). 8 C.F.R. § 212.5. ICE has parole jurisdiction over persons in

removal proceedings. 5

       37.     The regulations promulgated to implement the Parole Statute prescribe five

categories of noncitizens who qualify for parole for “urgent humanitarian reasons” or “significant

public benefit,” two of which are most relevant to this case: (1) those with “serious medical

conditions for whom continued detention would not be appropriate,” and (2) those “whose

continued detention is not in the public interest.” 8 C.F.R. § 212.5(b); see also 8 C.F.R. § 235.3(c).

       38.     Shortly after IIRAIRA’s enactment, in December 1997, the Immigration and

Naturalization Service (“ICE”) set forth guidelines for field offices to make parole determinations

for Arriving Asylum Seekers, stressing that “[p]arole consideration for detainees who meet the

credible fear standard, and accurate statistics on parole, are critical to the success of the expedited

removal program.” 6

       39.     In 2005, an independent government commission found that Arriving Asylum

Seekers’ chances of winning release on parole varied drastically depending on the jurisdiction in

which they were confined. 7 While the Harlingen field office released 97.6 percent of asylum


5
  Memorandum of Agreement Between USCIS, ICE, and CBP for the purpose of Coordinating the
Concurrent Exercise by USCIS, ICE, and CBP, of the Secretary’s Parole Authority Under INA §
212(d)(5)(A) with Respect to Certain Aliens Located Outside of the United States (September
2018), available at: https://www.ice.gov/doclib/foia/reports/parole-authority-moa-9-08.pdf.
6
  U.S. Commission on International Religious Freedom, “Report on Asylum Seekers in
Expedited Removal,” Vol. II at 97-100 (Feb. 8, 2005) [hereinafter Report on Asylum Seekers in
Expedited Removal], available at: https://www.uscirf.gov/sites/default/files/resources/stories/
pdf/asylum_seekers/ERS_RptVolII.pdf.
7
  “Report on Asylum Seekers in Expedited Removal,” Vol. I at 22.

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seekers before their asylum hearing, the New Orleans field office released just 0.5 percent. 8 The

commission recommended that DHS take steps to promote “more consistent implementation of

parole criteria.” 9

        40.      DHS then issued guidance on parole in 2009 to address these concerns (“2009

Parole Directive”). In conformity with the Parole Statute, the 2009 Parole Directive provides that

parole is in the “public interest,” and should be granted to Arriving Asylum Seekers who establish

their identities, pose neither a flight risk nor a danger to the community, and for whom no

additional factors weigh against their release. 10

        41.      The 2009 Parole Directive’s stated purpose “is to ensure transparent, consistent,

and considered ICE parole determinations for arriving aliens seeking asylum in the United

States.” 11 To that end, it instructs ICE Detention and Removal Operations field offices to follow

detailed procedures in making parole determinations and establishes reporting requirements “to

ensure accountability and compliance with [its] procedures.”

        42.      In particular, the Parole Directive requires:

    a. Automatic consideration for parole upon passing of CFI. 12

    b. Timely notification. ICE must provide Arriving Asylum Seekers with a Parole Advisal and
       Scheduling Notification (“Parole Advisal”). Parole Directive §§ 6.1, 8.1. The Parole
       Advisal must be provided to Arriving Asylum Seekers “as soon as practicable,” after a
       positive credible fear finding. Parole Directive §§ 6.1, 8.1.




8
  Id. at 62.
9
  Id. at 67.
10
   Parole Directive ¶ 6.2; see Fact Sheet, “Revised Parole Policy for Arriving Aliens with Credible
Fear Claims,” U.S. Immigration and Customs Enforcement (Dec. 16, 2009) [hereinafter 2009
Parole Directive Fact Sheet], available at: https://www.ice.gov/factsheets/credible-fear.
11
   ICE Directive 11002.1, Parole of Arriving Aliens Found to Have a Credible Fear of
Persecution or Torture (Dec. 8, 2009), https://www.ice.gov/doclib/dro/pdf/11002.1-hdparole_
of_arriving_aliens_found_credible_fear.pdf.
12
   2009 Parole Directive Fact Sheet.
                                                 13
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   c. Notification in a language Arriving Asylum Seekers understand. “The contents of the
      notification shall be explained” in a language the Arriving Asylum Seeker understands,
      and if necessary, through an interpreter. Parole Directive §§ 6.1, 8.1.

   d. Time to submit documents in support of parole, and instructions on where to submit them.
      The notification must include a deadline to submit documents and instructions for how to
      submit them. Parole Directive § 8.1.

   e. Timely parole interviews by officers familiar with legal requirements for parole. DRO
      officers familiar with the 2009 Parole Directive and related legal authorities, must
      interview Arriving Asylum Seekers to assess their eligibility for parole, no later than seven
      days after a positive credible fear finding. Parole Directive § 8.2.

   f. Brief explanation of reasons for denial. If the DRO officer denies parole, he or she must
      write a letter to the Arriving Asylum Seeker briefly explaining the reasons for denying
      parole. This letter is in addition to the Parole Determination Worksheet, and must be
      forwarded to a supervisory officer for review. Parole Directive § 8.2.

       43.     The 2009 Parole Directive also requires DRO officers to apply certain criteria to

their determinations about identity, flight risk, and safety risk, including:

   a. Identity. DRO officers must review all relevant documentation offered by Arriving Asylum
      Seekers, as well as “any other information available” about them, to determine whether
      they have established their identities. 2009 Parole Directive § 8.3(1)(b).

   b. Alternative ways to establish identity. If an Arriving Asylum Seeker is lacking government-
      issued identification, the DRO officer should ask whether he or she can obtain it. If the
      Arriving Asylum Seeker cannot, he or she “can provide for consideration sworn affidavits
      from third parties.” If those are not available, the DRO officer “should explore whether”
      the Arriving Asylum Seeker may establish his or her identity through credible statements.
      2009 Parole Directive § 8.3(1)(b).

   c. Flight risk. Arriving Asylum Seekers must provide an address where they will reside upon
      release. DRO officers are to consider such factors as community and family ties, prior
      criminal history, ability to post bond, alternatives to detention, property ownership, and
      possible relief from removal.

   d. Safety Risk. Arriving Asylum Seekers must show they do not pose a risk to public safety.
      DRO officers must consider evidence of rehabilitation for persons with prior offenses or
      disciplinary infractions.

   e. Additional Factors. ICE agents may, but need not, consider “exceptional, overriding
      factors” such as “serious adverse foreign policy consequences” or “overriding law
      enforcement interests.” 2009 Parole Directive § 8.3(4)(a).

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        44.      In February 2017, then-DHS Secretary John Kelly stated that the Parole Directive

“shall remain in full force and effect.” 13

        45.      DHS has not revoked, withdrawn, or amended the Parole Directive since former

Secretary Kelly’s statements.

        46.      One day after former Secretary Kelly’s statements, government litigators

represented to the Supreme Court of the United States that the 2009 Parole Directive remains “in

full force and effect,” emphasizing that it generally requires DHS “to release the alien if he

establishes his identity [and] demonstrates that he is not a flight risk or danger,” and requires an

individualized analysis that “calls for far more than checking a box on a form.” 14

        47.      In July 2018, the government represented to a federal judge in the District of

Columbia that the 2009 Parole Directive is binding. 15

        B.       DHS Has Effectively Rescinded the 2009 Parole Directive in the New Orleans
                 ICE Field Office, Denying Parole to More Than 98 Percent of Arriving Asylum
                 Seekers.

        48.      Since the Trump Administration took office in 2017, DHS has effectively rescinded

the 2009 Parole Directive in the New Orleans ICE Field Office, denying parole in virtually all

cases in 2018.

        49.      Despite the representations of federal officials, including then-DHS Secretary Kelly

and government lawyers litigating a similar case before this Court, the New Orleans ICE Field

Office has effectively declared that the 2009 Parole Directive is no longer in effect.



13
   See Kelly Mem. at 10.
14
   Supplemental Reply Brief for the Petitioners at 6 n.2, Jennings v. Rodriguez, 138 S. Ct. 830
(2018).
15
   See Damus, 313 F.Supp.3d at 338 (citing government’s statement at oral argument that “the
Directive is, in fact, binding”).

                                                  15
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          50.     In November 2018, a top-ranking ICE official answered a question from the

American Immigration Lawyers Association Midsouth Chapter thusly: 16




          51.     Since 2016, parole rates in the New Orleans ICE Field Office have sharply dropped,

reflecting DHS’ effective rescission of the 2009 Parole Directive in that jurisdiction.

          52.     From 2016 through 2018, the rate of parole grants in the New Orleans ICE Field

Office has dropped by more than 73 points.

          53.     According to ICE data, in 2016, the New Orleans ICE Field Office granted parole

in 75.9 percent of cases.

          54.     In 2017, the New Orleans ICE Field Office granted parole in only 21.9 percent of

cases, a decline of 54 percentage points.

          55.     In 2018, the New Orleans ICE Field Office granted parole in only 2 out of the 130

cases in which it made determinations, or in fewer than 2 percent of all cases.

          56.     Since 2016, the rate of cases granted parole in the New Orleans ICE Field Office

has decreased from 75.9 to 1.5 percent.

          57.     The parole grant rate of the New Orleans ICE Field Office in calendar year 2018

was the lowest of any field office in the country.




16
     Ex. A.
                                                  16
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       C.      The New Orleans ICE Field Office Engages in Sham Parole Reviews and
               Blanket Denials of Parole, Causing Plaintiffs and Proposed Class Members
               Irreparable Harm.

       58.     Defendants’ policy and practice of denying parole in nearly all cases is causing the

Plaintiffs and proposed class members numerous irreparable harms, including subjecting them to

arbitrary and prolonged detention.

       59.     Mr. Heredia Mons has been confined by DHS for more than ten months. He fled

Cuba because he was persecuted for refusing to participate in political activities. He and his wife

sought asylum in Laredo, Texas, in July 2018 and were detained separately. She was confined at

the T. Don Hutto Residential Center in Taylor, Texas; he was sent to Bossier. She passed her

credible fear interview in early August 2018, and was granted parole on August 24, 2018. She has

requested that her asylum case be consolidated with Mr. Heredia Mons’s case. ICE continues to

detain him.

       60.     After Mr. Heredia Mons passed his credible fear interview, he received a parole

advisal in English, a language he does not speak. The proof of service was dated September 8,

2018. The deadline for him to submit documents was September 4, 2018—four days before the

date on the proof of service. The advisal promised a parole interview. He never received one.

       61.     Thereafter, Mr. Heredia Mons submitted documents in support of his parole request

that were substantially similar to those his wife had submitted. The documents included: a letter

from his sponsor—who is his uncle, as well as the sponsor’s proof of U.S. citizenship, address,

and income; Mr. Heredia Mons’ marriage certificate; and a letter from his wife’s attorney offering

to represent Mr. Heredia Mons if he were released from ICE custody. ICE denied Mr. Heredia

Mons parole in a form letter dated September 10, 2018. The ICE official marked two checkboxes:




                                                17
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flight risk and “exceptional factors,” which the official explained as: “You are an enforcement

priority.”

        62.      Mr. Heredia Mons’ prolonged detention has significantly restricted his ability to

adequately prepare for and pursue his claim. 17 Representation is crucial to prevailing on an asylum

claim; 18 yet because he was confined, Mr. Heredia Mons was unable to avail himself of the legal

representation offered by his wife’s attorney. Because he was confined, ICE’s blanket parole denial

policy deprived Mr. Heredia Mons of access to information about and assistance from the few

attorneys offering legal representation to people detained at Bossier.

        63.      Ms. Mena Lopez, a trans woman, has been confined by DHS for four months. In

Cuba, she lived openly as a trans woman and refused to complete compulsory military service.

Cuban authorities misidentified her as a gay man and attempted to force her to serve in the military.

Due to her political beliefs and identity, Cuban authorities have beaten her, taunted her with

homophobic slurs, locked her in a frigid chamber for hours, and held her under arrest.

        64.      Once inside the United States, Ms. Mena Lopez passed her credible fear interview.

On February 28, 2019, she was served with a parole advisal. The proof of service was back-dated

to the previous day. The deadline on the parole advisal for submitting documents was February

28, 2019, the same day she received it. While the advisal promised a parole interview on March

1, 2019, she has yet to receive a parole interview.



17
   Plaintiffs’ First Amended Complaint at 29, SPLC v. DHS, No. 18-cv-00760-CKK (D.D.C. Oct.
31, 2018), ECF No. 49-2 (“just two percent of detained pro se immigrants obtain successful
outcomes in their removal proceedings,” versus “seven percent of pro se immigrants who were
released from custody and 17 percent of pro se immigrants who were never detained”).
18
   See, e.g., id. at 4 (detained immigrants with representation are ten-and-a-half times more likely
to succeed in removal case than pro se detainees); Eagly & Shafer, supra note 21, 49; TRAC
Immigration, Asylum Representation Rates Have Fallen Amid Rising Denial Rates (Nov. 28, 2017)
(reporting government data showing represented asylum seekers are five times more likely to win
asylum than pro se litigants), available at: http://trac.syr.edu/immigration/reports/491/.
                                                  18
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       65.     In ICE custody, Ms. Mena Lopez has been subjected to prolonged periods of

solitary confinement against her will on account of her gender identity. Upon entering the United

States at El Paso, Texas, she was placed in isolation because she is trans. After experiencing

isolation, she decided to try to pass as a gay man to avoid any future segregation. Upon transfer

to Cibola County Correctional Center in Milan, New Mexico, she passed as a gay man and was

assigned to the general population. She did not know that it was possible to live alongside other

trans women at Cibola. Then, when she was transferred to the Tallahatchie County Correctional

Facility in Tutwiler, Mississippi (“Tallahatchie”), to await a credible fear interview, she was again

identified as trans and isolated for a month. At that point, she cut her hair in a bid to again pass

as a gay man. At Pine Prairie, she was initially placed in the general population. When she

disclosed to a psychologist that she is trans, she was placed in isolation for several days. While in

isolation, Ms. Mena Lopez was shackled whenever she left her cell, and her access to recreation,

the law library, and religious services was restricted.

       66.     Because of the grueling conditions in isolation, she requested transfer back to the

general population, where she now suffers from constant threats, insults, and humiliation. In May

2019, attorneys asked ICE to transfer her to Cibola for placement in its dedicated unit for trans

women. That request has gone unanswered. Every day Ms. Mena Lopez is confined compounds

the physical, mental, and emotional harm she suffers from confinement as a trans woman and

trauma survivor. 19


19
  See, e.g., Physicians for Human Rights, Punishment Before Justice: Indefinite Detention in the
U.S., at 7-11, 26-27 (2011), available at: https://s3.amazonaws.com/PHR_Reports/indefinite-
detention-june2011.pdf (noting confinement correlates with feelings of “helplessness and
hopelessness that lead to debilitating depressive symptoms, chronic anxiety, despair, dread,”
Post-Traumatic Stress Disorder, and suicidal ideation, and asylum seekers are particularly
vulnerable because confinement may exacerbate past trauma); Physicians for Human Rights and
Bellevue/NYU Program for Survivors of Torture, From Persecution to Prison: The Health

                                                 19
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       67.      Mr. Toledo Flores has been confined by ICE for over seven months. A pharmacy

technician, Mr. Toledo Flores fled Cuba following reprisals for defying orders from Cuban

officials to harm clients for political reasons. Specifically, Mr. Toledo Flores refused to withhold

prescription medication from a client; in retaliation, Cuban officials interrogated and beat him,

fired him from his job, and prevented him from obtaining other pharmacy work. Cuban officials

came to his house, threatened him, and pushed his girlfriend, who was pregnant at the time.

       68.      Mr. Toledo Flores and his girlfriend fled Cuba in October 2018, and sought asylum

in the United States. They were detained separately. While Mr. Toledo Flores’ girlfriend was

released from detention, he was sent to jails in Port Isabel, Texas, and Tallahatchie, Mississippi,

where he passed his credible fear interview. Thereafter, Mr. Toledo Flores was served with a

parole advisal in English, a language he does not understand. The advisal set a deadline of

November 14, 2018 to submit a parole request and supporting documents.

       69.      While he languished in detention, Mr. Toledo Flores’ daughter was born in Florida,

in early November 2018.

       70.      Thereafter, Mr. Toledo Flores was moved to Bossier. A few days after arriving, he

received another document in English: a parole denial form letter dated November 14, 2018, the

same date that ICE had indicated he would need to submit documents in support of his parole

request. He never received a parole interview, and was unable to submit documents before the

deadline.

       71.      Mr. Toledo Flores did not come to understand the contents of the parole advisal and

the form letter until after the November 14, 2018 deadline. Nevertheless, on two occasions



Consequences of Detention for Asylum Seekers at 2 (2003) (finding most detained asylum
seekers experienced symptoms of depression or anxiety, and half had symptoms of PTSD).

                                                20
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thereafter, his family and attorney have submitted documents in support of parole, including: a

Cuban certification that he had no criminal record; tax documents and proof of address, identity,

and permanent residency of his sponsor; an offer of employment; letters of support from permanent

resident family members; and his daughter’s birth certificate.

        72.     Since Mr. Toledo Flores’ family submitted these documents, ICE has failed to

reconsider his parole request. ICE has also failed to return calls from Mr. Toledo Flores’ girlfriend

inquiring into the possibility of his release.

        73.     Because of Mr. Toledo Flores’ prolonged detention in rural Louisiana, he has not

been able to meet his daughter, a U.S. citizen who is now six months old. He has not been able to

work to support his daughter and girlfriend. He and his family have been denied visitation

privileges at Bossier. His isolation from family and friends, coupled with his conditions of

confinement, have significantly harmed his mental health. He now suffers from depression and

has developed insomnia.

        74.     Y.A.L. fled Cuba in October 2018, after Cuban police detained and assaulted him,

fabricated charges against him for so-called anti-government acts, and threatened to make him

disappear.

        75.     Upon indicating his intent to seek asylum in the United States, Y.A.L. was detained

and transferred to Tallahatchie, Mississippi, where he passed his credible fear interview.

Thereafter, he received a parole advisal and scheduling notification in English with no proof of

service date. The parole advisal set a deadline of October 18, 2018, to submit documents, and

indicated that his interview had been scheduled for November 17, 2018. Due to lack of access to

legal representation, Y.A.L. did not understand the instructions and could not submit documents

by the deadline. He never received a parole interview.



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        76.    On January 3, 2019, Y.A.L. sought release on parole with the assistance of a lawyer.

The request was based on two grounds: the 2009 Parole Directive and urgent humanitarian

concerns. The request complied with the requirements of the 2009 Parole Directive and included:

a letter of support from his sponsor, his wife, who is a permanent resident; and proof of the address

in Miami where, if released, he would live with his wife and the two children they had raised as a

family for ten years. In support of the humanitarian ground, he filed medical records showing he

suffers from gout, and that his condition had deteriorated significantly in ICE custody. ICE denied

the request in a form letter dated January 10, 2019. Several flight risk boxes were checked: failure

to establish substantial ties to the community, and that no amount of bond could ensure his

appearance.

        77.    ICE has failed to provide Y.A.L. with adequate medical care at Pine Prairie, causing

significant harm to his health. Prior to being detained, Y.A.L. managed his gout successfully with

medication and diet. In ICE custody, he has lost the ability to walk. He suffers from swelling,

redness, and extreme pain in his extremities. He cannot independently bathe or use the toilet, and

relies on other detained men for assistance. He is confined to a wheelchair. Despite many requests

to detention officials, he has been continuously deprived of a medically appropriate diet and

adequate medical treatment. The longer he remains detained, the more his pain and suffering

intensifies.

        78.    M.R.M.H., 18, has been confined by DHS for nearly five months. Before fleeing

Honduras, he survived two assaults by MS-13 members that left him with a broken foot and jaw.

On his journey north, in Mexico, he suffered another attack. Upon arrival in the United States, he

was detained at the border and transported to Tallahatchie, Mississippi, where he waited about six

weeks to take and pass his credible fear interview.



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       79.     Only two days after receiving his credible fear determination, M.R.M.H. received

a parole denial letter, dated February 16, 2019. He had never received a parole advisal or been

informed of any deadline to submit supporting documents.

       80.     With legal assistance, he sought parole reconsideration three times. The requests

complied with the 2009 Parole Directive. The first, filed on March 4, 2019, included his birth

certificate; letters of support from three U.S. citizens, two of whom were willing to serve as

sponsors; and the sponsors’ proof of address and income. ICE denied parole in a form letter dated

March 20, 2019. Two checkboxes were marked: flight risk, with no amount of bond ensuring

appearance, and failure to show changed circumstances since his first parole denial.

       81.     On April 7, 2019, while M.R.M.H. was in ICE custody at the River facility, he

experienced an allergic reaction to food and went into anaphylactic shock. His throat closed, he

could not breathe, and he lost consciousness. He was taken to a hospital near River for emergency

treatment.

       82.     M.R.M.H. submitted a second request for parole the following day, on April 8,

2019. The second request marshaled additional evidence: a letter from an attorney guaranteeing

that she would represent him in his asylum proceedings if he were released from custody; letters

from several supporters in Milwaukee, including a family member; one of his sponsors’ step-

daughter, who is a therapist; a community organization, and a local priest. ICE denied the second

request in an email dated April 12, 2019. The email stated: “Your previous parole request was

denied. You have spoken to the case officer. ERO New Orleans sees you are trying to request a

2nd time. Your clients[sic] next hearing with DOJ EOIR will be on May 28, 2019. At this point,

ERO will not consider release on parole. Your client will remain in custody pending the

determination from the IJ [immigration judge].”



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          83.    On April 17, 2019, M.R.M.H. again requested parole on the grounds of urgent

humanitarian concerns due to ICE’s failure to adapt M.R.M.H.’s diet and medical treatment to

prevent future life-threatening emergencies. His attorney for parole proceedings received an email

response from Deportation Officer Jacques T. Metoyer on May 2, 2019, stating that M.R.M.H. “is

not eligible for release on an Order of Supervision as he is not [sic] a final order of removal.” In

another email received by M.R.M.H.’s attorney on May 20, ICE states, “our agency is going to

continue your client’s detention without release on OSUP [Order of Supervision].”

          84.    ICE has failed to provide M.R.M.H. with adequate medical care or a medically

appropriate diet, causing significant harm to his health. M.R.M.H. has notified ICE and jail

officials several times that he is allergic to certain foods. Yet ICE has failed to ensure that he has

access to food that does not provoke potentially life-threatening allergic reactions. As a result,

M.R.M.H. has had hives for several months. He has experienced severe breathing problems,

including anaphylaxis. He has lost consciousness and been hospitalized on several occasions. A

physician who conducted an independent medical evaluation of M.R.M.H. in April 2019, found

he needed allergy testing, a special diet, immediate access to an epinephrine pen, and x-rays of his

foot and chest. Another physician who reviewed M.R.M.H.’s medical records found he “is at

extremely high risk of dying in ICE custody from a preventable condition.”

          85.    As a trauma survivor, M.R.M.H.’s ongoing confinement in a prison-like setting has

exacerbated his psychological symptoms. He is exhibiting signs of post-traumatic stress disorder,

including flashbacks, nightmares, and psychological distress. 20 Every day that he remains in

confinement compounds the harm he suffers.




20
     See note 16, supra.
                                                 24
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       86.     Mr. Puche Moreno, has been confined by DHS for more than eight months. In

Venezuela, he was an active member of an opposition party seeking to oust embattled President

Nicolás Maduro. Because of his political work, he was kidnapped and assaulted by agents of the

ruling party. He fled after learning of credible threats against his life.

       87.     Upon indicating his intent to seek asylum in the United States, Mr. Puche Moreno

was detained, then sent to Tallahatchie, Mississippi, where he had to wait about five weeks for his

credible fear interview, which he passed. He sought parole four times, initially pro se and

subsequently with the assistance of an attorney. All three requests by the attorney complied with

the 2009 Parole Directive. The first, submitted on December 17, 2018, included: a letter from Mr.

Puche Moreno’s sponsor, a U.S. citizen uncle; his sponsor’s proof of address; and letters of support

from three family friends, two of whom are U.S. citizens and one of whom is a permanent resident.

Neither Mr. Puche Moreno nor his attorney received any response to this request, which the

attorney re-submitted by email on December 28, 2018.

       88.     On January 7, 2019, Mr. Puche Moreno submitted a revised parole request with

more evidence that he did not pose a flight risk: proof of legal representation in his asylum

proceedings, which correlates with high appearance rates at court hearings 21; and an offer of

employment from a U.S. citizen employer. An ICE agent responded by email on January 7, 2019,

saying he would review the request. A couple days later, ICE issued a form denial dated December

28, 2018. Two boxes were checked: flight risk, with no amount of bond ensuring appearance; and

failure to show changed circumstances.

       89.     In light of deteriorating conditions in Venezuela, including food shortages, power

outages, the cessation of international flights, and the threat of further U.S. sanctions, Mr. Puche


21
  Ingrid V. Eagly & Steven Shafer, A Nat’l Study of Access to Counsel in Immigration Court,
164 Univ. of Pa. Law Review 1, 10 (2015) [hereinafter Eagly & Shafer].
                                              25
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Moreno submitted a fourth parole request.          The request, based on changed circumstances,

contained news articles about the humanitarian crisis in Venezuela, the cessation of flight

operations, and the move by U.S. lawmakers to secure Temporary Protected Status for

Venezuelans. Despite the proof of cessation of air traffic between the U.S. and Venezuela, ICE

again denied parole.

       90.     Mr. Puche Moreno’s prolonged detention has meant many painful days without any

communication with his family. When he was forced to flee Venezuela, he had to leave his wife

of less than one month. From detention, communication is costly, and Mr. Puche Moreno can

only speak with her a couple of times a month. Without access to parole, he has been unable to

work to support his family, who have struggled to pay the thousands of dollars in attorneys’ fees

required to pursue his asylum claim. In addition, Mr. Puche Moreno suffers from hyperinsulinism,

which he has been unable to manage due to lack of control over his diet in detention. His condition

leaves him feeling weak and light-headed with frequent headaches, further contributing to the

stress of long-term confinement and fear of deportation back to violence.

       91.     P.S.P. has been confined by DHS for nearly eight months. He fled Cuba because

government agents were demanding that he harm patients for political reasons. In response to the

spread of the Zika virus, Cuban officials demanded that he pressure pregnant patients to terminate

their pregnancies if they tested positive for the virus. This practice sought to shore up the

international reputation of Cuba’s medical system by covering up a spike in birth deformities and

infant mortality attributable to the Zika virus.

       92.     As part of this practice, Cuban officials demanded that P.S.P. to perform a late-term

abortion on a patient despite evidence that the laboratory was producing unreliable test results.

After he refused to follow their order, Cuban authorities retaliated against him, beating and

detaining him. They began asking patients if he touched them inappropriately and made a baseless
                                                   26
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accusation of prostitution against P.S.P., who is gay. All his life, he has faced discrimination for

his Afro-Latino roots and sexual orientation.

       93.       P.S.P. fled Cuba to seek asylum in the United States. He was detained for more

than a month before he was given a credible fear interview, which he passed. Thereafter, he

received a parole advisal in English, a language he does not speak or read fluently. The advisal

had a proof of service date of November 21, 2018. It promised a parole interview on November

20, 2018, a date that had already passed. It set a deadline for submission of documents on

November 21, 2018—the very same date on the proof of service.

       94.       P.S.P. and his sponsor, his U.S. citizen sister, tried unsuccessfully for months to

obtain information from the New Orleans ICE Field Office about the parole process. His sister

called ICE several times trying to reach P.S.P.’s deportation officer, who has never returned her

calls. She mailed to Pine Prairie, via overnight delivery, a package with documents in support of

parole for P.S.P. The package was returned without any notice of receipt or decision.

       95.       After three months in ICE custody in Louisiana without any prospect of release,

P.S.P. submitted a written request for access to the parole process. Specifically, he requested a

parole interview and instructions for submitting documents in support of his parole request. ICE

responded about two months later, stating only “[h]earing scheduled in Feb.” P.S.P. interpreted

this to mean that because his asylum hearing was scheduled for February, ICE had denied his

request for a parole interview and the opportunity to submit supporting evidence.

       96.       Forced to wait over seven months for a decision from the immigration judge in his

asylum case, P.S.P. has suffered great harm from his lengthy detention, including separation from

his permanent resident sister and U.S. citizen brother-in-law. He has followed all the legal steps

asked of an asylum seeker by passing his credible fear interview and presenting himself at every

court hearing.
                                                 27
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       97.       J.M.R. has been confined by DHS for more than ten months. A political dissident

in Cuba, J.M.R. refused to enlist in the military as required. For that, Cuban authorities appeared

at a soccer field where he was playing, beat him with a baton, pulled him off the field, and jailed

and interrogated him. Because he refused to complete compulsory military service, Cuban

authorities twice beat him in this fashion, issuing him a citation and fine and threatening to

disappear him.

       98.       J.M.R. fled Cuba to seek asylum in the United States. He was detained at the

border, then moved to Tallahatchie. He was forced to wait in detention for nearly a month before

he was given a credible fear interview, which he passed. Thereafter, he received a parole advisal

in English, a language he does not understand, and he was transferred to Pine Prairie. He had been

unable to retain an attorney and did not understand the significance of the parole advisal when, on

September 12, 2018, he received a form letter denying him parole. The form letter had marks by

several check boxes related to flight risk: failure to provide a valid U.S. address where he would

reside if released, and that no amount of bond could ensure his appearance.

       99.       With legal assistance, he sought parole reconsideration on November 21, 2018. The

request complied with the 2009 Parole Directive, and included a copy of his birth certificate, a

notarized affidavit of support from his sponsor, his U.S. citizen uncle, proof of his sponsor’s

address in Florida, and a Cuban certification that he had no criminal record. ICE denied parole in

a form letter dated November 27, 2018. The only checkbox marked on the form indicated

“fail[ure] to provide additional documentation or to demonstrate any significant changed

circumstances which would alter ICE’s previous determination.”

       100.      J.M.R.’s confinement in a remote immigration prison in Louisiana, far from his

sponsor and other family support in south Florida, deprived him of access to legal representation

to pursue his asylum claim before the immigration judge. Accordingly, he was forced to represent
                                                28
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himself pro se at his asylum hearing. His confinement also restricted his ability to represent

himself at his asylum hearing by limiting his access to relevant evidence and information. At Pine

Prairie, he failed to receive a package of documents mailed by his uncle to support his asylum

claim, and he had limited access to legal materials.

       101.    R.O.P has been confined by ICE for more than ten months. He fled Cuba because

government agents were demanding that he harm patients for political reasons. A physician at a

state hospital, he was pressured to withhold life-saving treatment from a patient who was a

nationally recognized political dissident. When R.O.P. confronted state authorities about the

unethical conduct at the hospital, state authorities began to retaliate against him.

       102.    R.O.P. fled Cuba to seek asylum in the United States. He was detained for about a

month before he was given a credible fear interview, which he passed. Thereafter, he was served

with a parole advisal in English. Though the advisal lacked a proof of service date, he was served

with it one day before the deadline for him to submit documents in support of parole. The advisal

promised a parole interview on August 28, 2018. But he never received a parole interview. The

advisal also specified the mailing address and fax number where documents were to be sent.

       103.    Shortly after receiving the advisal, R.O.P.’s relative gathered documents in support

of his parole request, and sent them to R.O.P.’s ICE officer at the mailing address and fax on the

advisal. When his relative called the ICE officer to confirm receipt, the ICE officer told the relative

that documents were not accepted via fax. Several days later, the relative called the ICE officer

again to confirm receipt of the documents by mail; the ICE officer acknowledged receipt. ICE

denied R.O.P. parole in a form letter dated August 30, 2018. The form letter had marks by several

check boxes related to flight risk: failure to establish substantial ties to the community, and no

amount of bond could ensure his appearance.



                                                  29
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       104.    After that, R.O.P. sought parole reconsideration with legal assistance. The

application bolstered his community ties by adding a new letter of support from his sponsor, his

U.S. citizen fiancée, a letter from her U.S. citizen daughter, and another letter from a permanent

resident who studied and worked alongside him in Cuba, and was also forced to flee due to

persecution. Despite the additional evidence, R.O.P. was not granted parole.

       105.    R.O.P.’s confinement in a remote immigration prison in Louisiana has prolonged

his separation from his sponsor, who is his U.S. citizen fiancée, and exposed him to illness due to

the conditions of confinement. He suffered from an ear infection that went untreated for weeks

after a medical professional dismissed his complaints, saying his ear was dirty. Although he

eventually received treatment for the infection, he remains exposed to mold on the walls near his

bed and has been forced to place plastic bags over it to prevent the moisture from dripping onto

his bed.

       106.    F.J.B.H. has been confined by DHS for five months. He fled Honduras after

criminal gangs affiliated with the ruling political party extorted him for months, and eventually

robbed him at gunpoint, beat him, and attempted to kidnap his girlfriend and son. After taking his

girlfriend and son into hiding, they joined the migrant caravan in October 2018 and journeyed

toward the United States to seek asylum.

       107.    Upon presenting at the U.S. border, he was separated from his family, detained, and

transported to Tallahatchie. There, he received a credible fear interview, which he passed. On

January 17, 2019, F.J.B.H. received a parole advisal in English and a two-page document in

Spanish with general information about parole. Because he does not understand English, F.J.B.H.

did not understand the contents of the advisal and did not realize the deadlines it set for the

submission of documents in support of parole.



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        108.    The following day, on January 18, 2019, F.J.B.H. was served with a parole denial

letter. Because he does not understand English, he did not realize he had been denied parole on

the basis of flight risk. Although he requested library access to use a Spanish-English dictionary,

he was denied it. A few weeks later, after his transfer to River, he was served with a second parole

advisal. F.J.B.H. refused to sign the proof of service of the advisal until an ICE officer explained

to him the contents of the document in Spanish. The advisal set a deadline of March 27, 2019 to

submit documents in support of his parole application, and promised an interview on the same

date. The interview did not occur.

        109.    On or around March 25, 2019, F.J.B.H. submitted documents in support of his

parole application in person to an ICE officer at River. The documents included a copy of his birth

certificate, a letter from his sponsor, his permanent resident sister, and a Honduran certification of

no criminal record. The ICE officer replied that ICE was not giving parole to anyone. ICE denied

F.J.B.H. parole in a form letter dated March 28, 2019, again for flight risk. ICE agents at River

told F.J.B.H. that they would not grant parole to anyone even if President Trump visited them, and

that the reasons they deny parole to all is because all are flight risks.

        110.    While confined in a remote immigration prison in Louisiana, F.J.B.H. has been kept

far from his permanent resident sister, his girlfriend, and the child they have jointly raised for six

years. Due to the high cost of phone calls, he is rarely able to speak to his family over the phone

and has had to rely mainly on letters to communicate with family and search for legal

representation. Not having been able to secure an attorney, he expects to represent himself pro se

in his asylum hearing before the immigration judge.

        111.    Mr. Giron Martinez has been confined by DHS for almost five months. He fled

Honduras in October 2018, after Honduran government officials and death squads threatened him

with disappearance and death for his participation in political activities. On January 14, 2019,
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Mr. Giron Martinez sought asylum in San Ysidro, California. On or around February 12, the same

day that he passed his credible fear interview, he received packet of documents in English, a

language he does not understand. No one verbally explained the contents of the packet to him. A

few days later, with the help of an English language interpreter, Mr. Giron Martinez learned that

the documents he received were a parole advisal.

       112.    The advisal set a deadline of February 13, 2019 for Mr. Giron Martinez to submit

documents in support of his parole request, and his parole interview was scheduled for February

14, 2019. Shortly thereafter, Mr. Giron Martinez received an English-language letter which, he

later learned through an interpreter, denied him parole. He did not have an opportunity to submit

documents in support of parole, nor did he receive an interview.

       113.    Mr. Giron Martinez again sought parole in April 2019. He submitted documents in

support of his parole request including: his Honduran passport, a letter of support from his U.S.

citizen sponsor, as well as his sponsor’s proof of address and income. Shortly thereafter, ICE

denied Mr. Giron Martinez parole in a form letter. The ICE official marked a checkbox stating

that Mr. Giron Martinez was a flight risk.

       114.    Mr. Giron Martinez’s prolonged detention has significantly restricted his ability to

adequately prepare for and pursue his asylum claim. Due to restricted communication at Jackson,

it has been nearly impossible for him to secure an attorney and communicate with his sponsor to

prepare his asylum case.

       115.    Mr. Tumenta has been confined by ICE for almost ten months. He fled his native

country of Cameroon in April 2018, after the Cameroonian government banned the Southern

Cameroons National Council – the political party of which he is a card-carrying member – and

massacred hundreds of its members. The Southern Cameroon National Council is recognized by

the United Nations as a political party whose members are targeted for political persecution,
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torture, and murder. Before fleeing Cameroon to seek asylum in the U.S., the Cameroonian

government beat, tortured, and detained Mr. Tumenta on multiple occasions. This fear for his life

caused Mr. Tumenta to leave behind his pregnant wife, who could not travel with him to the U.S.

to seek asylum due to her pregnancy. On September 6, 2018, Mr. Tumenta arrived in San Ysidro,

California, seeking asylum. He was detained and transferred to Tallahatchie, where he was given

a credible fear interview, which he passed in October 2018.

        116.       On October 16, 2018, he was served with a parole advisal. The advisal set the date

for his parole interview on that very same day, and set a deadline for him to submit documents in

support of his parole request the following day, October 17, 2018. Mr. Tumenta was unable to

submit documents within the 24-hour deadline because his confinement made it difficult for him

to communicate with his family and solicit his documents. He never received a parole interview.

        117.       A few days later, Mr. Tumenta contacted his sponsor, his U.S. permanent resident

uncle, who prepared a parole application including: an affidavit of support from his uncle, the

sponsor’s proof of address and immigration status, and proof of Mr. Tumenta’s identity.

Thereafter, Mr. Tumenta was transferred to Pine Prairie. Upon his arrival, he received a form

letter from ICE denying him parole. The letter, dated October 17, 2018, had a checkbox marked

for flight risk.

        118.       On October 28, 2018, Mr. Tumenta submitted a written request to an ICE official

inquiring about his parole denial. He received a response from the ICE official on November 1,

2018, informing him that the “parole decision will not change for now.” He later spoke to another

ICE official who told him: “[y]ou’re going nowhere; “the first decision won’t change;” and ICE

“won’t give you parole.”

        119.       Mr. Tumenta’s confinement in a remote Louisiana immigration prison has caused

him many harms. The experience of confinement has compounded the trauma he suffered in
                                                   33
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Cameroon; he now suffers from depression, flashbacks, and difficulty sleeping. Because he is

confined, he cannot support his wife, who has given birth to their son, nor can he speak to her

regularly. He has suffered physical illness in confinement, contracting mumps, which led to him

being isolated from the general population.

                               CLASS ACTION ALLEGATIONS


       120.     Plaintiffs bring this action pursuant to Federal Rules of Civil Procedure 23(a) and

23(b)(2) on behalf of themselves and all other persons similarly situated. The proposed class is

defined as follows:

       All arriving asylum seekers (2) who receive positive credible fear determinations; and (3)
       who are or will be detained by U.S. Immigration and Customs Enforcement; (4) after
       having been denied parole by the New Orleans ICE Field Office.

       121.     The class is so numerous that joinder of all members is impracticable. According

to ICE data, the New Orleans ICE Field Office denied parole to 128 people in 2018.

       122.     Many more individuals are now or will become class members in the future, given

that ICE is expanding its capacity to confine noncitizens in the custody of the New Orleans ICE

Field Office.

       123.     Currently, ICE holds up to 1,160 men and women in custody at LaSalle, in

Louisiana.

       124.     Currently, ICE holds nearly 800 men and trans women in custody at Pine Prairie,

in Louisiana.

       125.     Currently, ICE has the capacity to confine hundreds more people in Louisiana at

Bossier, Jackson, and the Allen Parish Public Safety Complex in Oberlin.

       126.     Currently, ICE has capacity to confine nearly 1,000 people in Mississippi at

Tallahatchie.

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          127.   Recently, ICE added capacity to confine about 600 people at River in Louisiana.

          128.   Recently, ICE added capacity to confine up to 1,000 people at the Richwood

Correctional Center 22 in Monroe, Louisiana.

                                      CAUSES OF ACTION
                                       First Claim
                              (Administrative Procedure Act)
     Unlawful Failure to Follow and/or Effective Rescission of the ICE Parole Directive


          129.   Plaintiffs hereby reallege and incorporate by reference the foregoing paragraphs.

          130.   The 2009 Parole Directive is a final agency action.

          131.   The 2009 Parole Directive remains in effect. Accordingly, DHS is bound by its

terms, and its provisions must be applied to Arriving Asylum Seekers who receive positive

credible fear determinations.

          132.   Despite that, the New Orleans ICE Field Office has taken the position that the

2009 Parole Directive is no longer in effect.

          133.   Defendants’ policy and practice of ignoring the Parole Directive is arbitrary,

capricious, and contrary to law in violation of the Administrative Procedure Act, 5 U.S.C. §

706(2).

                                       Second Claim
     (Administrative Procedure Act – Violation of the Immigration and Nationality Act
                              and Implementing Regulations)
        Failure to Provide Individualized Determinations of Flight Risk and Danger



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  KNOE News, “More than a thousand migrant detainees from the border to be housed at the
Richwood Correctional Facility,” (April 4, 2019), available at: https://www.knoe.com/content/
news/More-than-a-thousand-migrant-detainees-from-the-border-to-be-housed-at-the-Richwood-
Correctional-Facility--508150181.html; Noah Lanard, “Louisiana Decided to Curb Mass
Incarceration. Then ICE Showed Up.” Mother Jones (May 1, 2019), available at:
https://www.motherjones.com/politics/2019/05/louisiana-decided-to-curb-mass-incarceration-
then-ice-showed-up/.
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          134.   Plaintiffs hereby reallege and incorporate by reference the foregoing paragraphs.

          135.   The INA and its implementing regulations prohibit DHS from subjecting asylum

seekers to long-term civil immigration detention absent an individualized determination that the

individual poses a flight risk or is a danger to the community.

          136.   Defendants are failing to provide individualized determinations, instead issuing

denials on a categorical basis to nearly all Arriving Asylum Seekers.

          137.   Defendants’ categorical detention of Plaintiffs and those similarly situated,

without any individualized review of flight risk or danger to the community, violates the INA

and its implementing regulations.

                                       Third Claim
      (Due Process Clause of the Fifth Amendment to the United States Constitution)
       Failure to Provide Individualized Determinations of Flight Risk and Danger

          138.   Plaintiffs hereby reallege and incorporate by reference the foregoing paragraphs.

          139.   Arriving Asylum Seekers are “persons” within the meaning of the Due Process

Clause.

          140.   Accordingly, Arriving Asylum Seekers may not be deprived of liberty without

due process of law.

          141.   Defendants are failing to provide Asylum Seekers with individualized

determinations regarding release from confinement.

          142.   Defendants’ failure to provide such individual review infringes on Arriving Asylum

Seekers’ liberty interests without due process of law, as required by the Fifth Amendment to the

U.S. Constitution.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court:


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1. Declare that the New Orleans ICE policy and practice is arbitrary, capricious and contrary
   to law;

2. Enter an order enjoining Defendants from detaining Plaintiffs and proposed class members
   absent parole reviews that result in individualized determinations that detention is
   necessary to prevent flight or danger to the community and that conform to the other
   requirements of the 2009 Parole Directive;

3. Appoint a special master to oversee the New Orleans ICE Field Office’s compliance with
   the 2009 Parole Directive;

4. Award Plaintiffs’ counsel reasonable attorneys’ fees under the Equal Access to Justice Act
   and any other applicable statute or regulation; and

5. Grant such further relief as the Court deems just, equitable, and appropriate.




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Dated: May 30, 2019                 Respectfully submitted,


                                    _____//s// Melissa Crow_____________

Katie Schwartzmann*                 Melissa Crow (D.C. Bar No. 453487)
Bruce Hamilton*                     Luz Virginia López*
AMERICAN CIVIL LIBERTIES UNION      SOUTHERN POVERTY LAW CENTER
OF LOUISIANA FOUNDATION             1101 17th St., NW, Suite 750
P.O. Box 56157                      Washington, DC 20036
New Orleans, LA 70156               Tel: (202) 355-4471
Tel: (504) 522-0628                 melissa.crow@splcenter.org
kschwartzmann@laaclu.org            luz.lopez@splcenter.org
bhamilton@laaclu.org
                                    Mary Bauer*
                                    SOUTHERN POVERTY LAW CENTER
                                    1000 Preston Avenue
                                    Charlottesville, VA 22903
                                    Tel: (470) 606-9307
                                    mary.bauer@splcenter.org

                                    Laura Rivera*
                                    SOUTHERN POVERTY LAW CENTER
                                    150 E. Ponce de Leon Ave., Ste. 340
                                    Decatur, GA 30030
                                    Tel: (404) 521-6700
                                    laura.rivera@splcenter.org

                                    Attorneys for Plaintiffs
                                    *Pro Hac Vice applications forthcoming




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